               Case 22-11068-JTD              Doc 10189          Filed 03/22/24         Page 1 of 2




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

FTX TRADING LTD., et al., 1                                     Case No. 22-11068 (JTD)

                                    Debtors.                    (Jointly Administered)

                                                                Ref. No. 8676


                                  CERTIFICATE OF NO OBJECTION

         The undersigned hereby certifies that, as of the date hereof, she has received no answer,

objection or other responsive pleading to the Debtors’ Motion for Entry of an Order

(A) Authorizing the Debtors to Enter into the Global Settlement Agreement with BlockFi,

(B) Approving the Global Settlement Agreement, and (C) Granting Related Relief [D.I. 8676] (the

“Motion”) filed on March 6, 2024. The undersigned further certifies that she has reviewed the

Court’s docket in these cases and no answer, objection or other responsive pleading to the Motion

appears thereon. Pursuant to the notice, responses, if any, to the relief requested in the Motion

were to be filed and served on or before March 20, 2024 at 4:00 p.m. (ET).

         It is hereby respectfully requested that the proposed form of order attached to the Motion,

which shall be uploaded to CM/ECF in accordance with the Court’s electronic order processing

procedures, be entered at the Court’s earliest convenience.




1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063, respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.



{1368.002-W0075074.}
               Case 22-11068-JTD   Doc 10189   Filed 03/22/24     Page 2 of 2




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{1368.002-W0075074.}
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